                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
                                                  )
v.                                                )      Civil No. 3:13-cr-00162
                                                  )      Judge Aleta A. Trauger
WENDY ASKINS                                      )
                                                  )
                                                  )

                                           ORDER

       This matter comes before the court on a Motion to Dismiss Indictment and Disqualify

Counsel filed by the defendant, Wendy Askins (Docket No. 150), to which the United States has

filed a Response (Docket No. 156).         For the reasons discussed in the accompanying

memorandum, the motion is DENIED.

       It is so ORDERED.

       Enter this 28th day of July 2016.



                                                         ______________________________
                                                         ALETA A. TRAUGER
                                                         United States District Judge




                                              1
 Case 3:13-cr-00162       Document 159       Filed 07/28/16    Page 1 of 1 PageID #: 618
